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OTRR621 State of Arkansas Date: 05/09/2019
Sentence Expiration Time: 11:28AM
AWAITING
ORDER OF DISCHARGE PHOTO
RE: Parker, Tiffany ADC#: 715935 PID#: 0297943 |

 

 

This is to certify that Parker, Tiffany, ADC Number 715935, is hereby discharged from the Arkansas
Department of Correction, having served full term of said sentence, less commutation of good time
earned by statutory allowance under the law of good conduct.

Said Parker, Tiffany, was committed to the Arkansas Department of Correction by the Circuit Court
for the following:

 

 

 

 

COUNTY CRIME “COUNTS DATE.
Pope Poss Cont Sub Sched lll Meth Cocaine < 2g 1 05/21/2018
Probation Revocation . -

 

 
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OTRR621 State of Arkansas Date: 05/09/2019
Sentence Expiration Time: 11:28 AM
ORDER OF DISCHARGE
RE: Parker, Tiffany - ADC#: 715935 PID#: 0297943
Total Sentence Length: ly 0m 0d Minimum Release Date: 05/09/2019

Restoration of Voting Rights. If you desire to register to vote you must provide the County Clerk of
the County in which you reside this Order of Discharge together with proof that you have paid all
applicable court costs, fines, and restitution. Proof that you have paid any applicable court costs, fines and
restitution can be sought from the Circuit Clerk of the County wherein you were convicted.

For additional information, visit the Arkansas Secretary of State website at:
http://Avww.sos.arkansas.vov/elections/Pages/voterResourees.aspx

 

(Seal)

 

By CPaundd Klute

 

 

 

Warden/Supervisor

 

Amendment 51 of the Arkansas Constitution allows convicted felons to have their voting rights restored.
To be eligible for voting rights restoration, convicted must satisfy all terms of imprisonment; be discharged
from parole or probation; and have fully paid all applicable fines, fees, court costs and restitution. Felons
must provide proof to the county clerk of residence that ALL of the requirements have been met before
their voting rights can be restored.
Mail - ctliais@agpc4clérgr-00293-BSM Document 986-1 Filed 05/17/19 Page 3 of Bage 1 of 1

Tiffany Parker 715935

ADC Waiting List <adc.waitinglist@arkansas.gov>
Thu 5/9/2019 11:57 AM
ToJames Lyons <jlyons@pcso.org>; Court Liaison <ctliaison@pcso.org>; Bertha Allen <ballen@pcso.org>; Jose Garcia

<jgarcia@pcso.org>; Kimberly Hagerty <khagerty@pcso.org>; Royann Brown <rbrown@pcso.org>; Matthew Briggs
<mbriggs@pcso.org>; Jon T. Smith <jtsmith@pcso.org>;

1 attachments (72 KB)
20190509114501.pdf,

Here is the discharge order on Parker for her Pope county 2016-108 ADC sentence she discharges 5/9/2019. She
has been released from the ADC backup Waiting List and can be released if she has no further pending
charges/sentences against her. It is my understanding she has federal charges pending which is the reason she
did not come into ADC.

Dias wt aq 1 or / IN 1 re) 1 ‘10 at / “ar 4 CININNAN
